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                                UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF FLORIDA
                                 WEST PALM BEACH DIVISION

                      CASE NO. 14-80468-CV-MIDDLEBROOKS/BRANNON

   SECURITIES AND EXCHANGE COMMISSION,

                                  Plaintiff,

   v.

   JCS ENTERPRISES, INC. d/b/a JCS
   ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
   JOSEPH SIGNORE, and PAUL L. SCHUMACK, II,

                                  Defendants.

   ____________________________________________/

        SUPPLEMENT TO FIFTH REPORT OF RECEIVER JAMES D. SALLAH, ESQ.

          I, James D. Sallah, Esq., not individually, but solely in my capacity as the Court-appointed

   receiver (the “Receiver”) for JCS Enterprises Inc., d/b/a JCS Enterprises Services Inc. (“JCS”),

   T.B.T.I., Inc. (“TBTI”), My Gee Bo, Inc. (“Gee Bo”), JOLA Enterprise Inc. (“JOLA”), and PSCS

   Holdings, LLC (“PSCS”), their affiliates, subsidiaries, successors, and assigns (collectively, the

   “Receivership Entities” or “Estate”) submit this Supplement to my Fifth Report regarding the

   present status of the Estate (“Fifth Report”).




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                     IMPORTANT – PLEASE READ CAREFULLY

         THE STATEMENTS CONTAINED IN THIS REPORT ARE BASED ON MY
   INVESTIGATION CONDUCTED IN THE TIME ELAPSING FROM THE RECEIVERSHIP’S
   ESTABLISHMENT. I HAVE COMPILED THIS REPORT BASED ON BOTH MY AND MY
   PROFESSIONALS’: (1) REVIEW OF TENS OF THOUSANDS OF PAGES OF DOCUMENTS,
   INCLUDING EXTENSIVE FINANCIAL RECORDS; AND (2) INTERVIEWS WITH
   NUMEROUS INDIVIDUALS, INCLUDING EMPLOYEES, ACCOUNTANTS, LEGAL
   PROFESSIONALS, VENDORS, INVESTORS, FINANCIAL INSTITUTIONS, AND OTHER
   RELATED PERSONS. THE FACTS AND CONCLUSIONS HEREIN MAY BE SUBJECT TO
   CHANGE AS MY INVESTIGATION PROGRESSES DURING THE COURSE OF THE
   RECEIVERSHIP. OTHER THAN THE AMOUNTS CONTAINED IN THE BANKS AND/OR
   BROKERAGE INSTITUTIONS, THE VALUE OF MOST OTHER ASSETS HAS YET TO BE
   DETERMINED DEFINITIVELY. AS ADDITIONAL INFORMATION IS DISCOVERED, I
   INTEND TO FILE ADDITIONAL REPORTS FROM TIME TO TIME.
         IN WRITING THIS REPORT, I HAVE ATTEMPTED TO BALANCE THE
   IMPORTANCE OF FULL AND FAIR DISCLOSURE OF MATERIAL INFORMATION WITH
   THE CONCERNS OF THE UNDERLYING BUSINESSES AND ASSETS INFORMATION
   REMAINING CONFIDENTIAL FOR COMPETITIVE REASONS. TO THAT END, I HAVE
   OPTED, IN MOST CASES, TO DISCLOSE A SIGNIFICANT AMOUNT OF FINANCIAL
   INFORMATION     AND    CAUTION    ANY     INDIVIDUALS    OR    ENTITIES   WHO
   INTENTIONALLY MISREPRESENT THE INFORMATION CONTAINED HEREIN IN AN
   EFFORT TO DISPARAGE THE RECEIVERSHIP ENTITIES, OR SEEK TO USE IT
   UNFAIRLY TO GAIN A COMPETITIVE ADVANTAGE, THAT ANY SUCH ACTION MAY
   HAVE SIGNIFICANT LEGAL CONSEQUENCES.
         FINALLY, TO THE EXTENT THAT THE RECEIVERSHIP ENTITIES ARE
   ENGAGED IN LITIGATION OR ARE EXPLORING POTENTIAL LAWSUITS AGAINST
   INDIVIDUAL OR ENTITIES, I HAVE NOT SET FORTH ALL OF THE INFORMATION
   SURROUNDING THESE LAWSUITS OR POTENTIAL LAWSUITS SO AS NOT TO
   DISCLOSE    PRIVILEGED,   WORK-PRODUCT          INFORMATION,   OR   LITIGATION
   STRATEGY.
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                                       THE CLAIMS PROCESS

          This is to update the Court and supplement Section VII, “The Claims Process,” of my Fifth

   Report dated January 11, 2017 (DE 370-1) (“Fifth Report). In my Fifth Report, I explained that I

   am continuing to work to complete and file a motion asking the Court to pool the assets among the

   various Receivership Entities and approve a claims process and plan of distribution, among other

   things (“Claims Motion”). While in my Fifth Report I stated that I felt confident that I would be

   filing the Claims Motion by no later than February 28, 2017, I currently believe it is in Estate’s

   best interest if I wait until the end of March 2017 to do so.

          To explain, I am hopeful that by the end of March 2017, I will have further increased the

   total amount of cash in the Receivership Estate for a future, initial distribution approved by the

   Court. My professionals and I have been working diligently on the Claims Motion, which remains

   one of my highest priorities. If additional monies are not deposited into the Estate prior to the end

   of March 2017, I will proceed with filing the Claims Motion at that time.

   Executed on this 28th day of February, 2017.

                                                  Respectfully submitted,


                                                  /s/ James D. Sallah

                                                  James D. Sallah, Esq.,
                                                  Not individually, but solely in my       capacity as
                                                  Receiver of JCS Enterprises, Inc.         d/b/a JCS
                                                  Enterprises Services, Inc., T.B.T.I.,    Inc., JOLA
                                                  Enterprise, Inc., PSCS Holdings, LLC,    and My Gee
                                                  Bo, Inc.




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